  Case 23-11591-mdc        Doc 30     Filed 09/19/23 Entered 09/19/23 16:07:07           Desc Main
                                      Document Page 1 of 1


                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                               PHILADELPHIA DIVISION
 In Re:
       NICHOLAS JOSEPH RIVELLI                        Chapter 13
            Debtor(s)
       NEWREZ LLC D/B/A SHELLPOINT                    Case Number: 23-11591-mdc
       MORTGAGE SERVICING
            Movant
       v.
       NICHOLAS JOSEPH RIVELLI
            Debtor(s)
       KENNETH E. WEST
            Trustee
            Respondent(s)

                                               ORDER

                            19th
       AND NOW, this __________                   September
                                       day of _______________     , 2023, upon the motion of NewRez
LLC d/b/a Shellpoint Mortgage Servicing, and upon the failure of Debtor to file an Answer or otherwise
plead as directed by the Court (and/or after hearing held and consideration of all evidence, arguments
and briefs of Counsel), it is ORDERED AND DECREED that Movant, NewRez LLC d/b/a Shellpoint
Mortgage Servicing (and any assignee/successor-in-interest) is granted relief from the stay of 11 U.S.C.
§362 to proceed with enforcement of all rights Movant has under state and federal law concerning the
Property (the “Property”): 20 HICKORY DRIVE, #B1, HORSHAM, PA 19044.


       It is further ORDERED and DECREED that the 14-day stay pursuant to BKRP 4001(a)(3) is
hereby waived.

                                                   BY THE COURT:

                                                   __________________________________
                                                      MAGDELINE D. COLEMAN
                                                      Chief Bankruptcy Judge
